              Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 1 of 10




                           UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JASON ALTENHOFEN, individually and
on behalf of all others similarly situated,

                  Plaintiff,                         Civil Action No. 2:20-cv-00200-DSC

         v.                                          Judge David S. Cercone

ENERGY TRANSFER PARTNERS,
L.P.,

                  Defendant.



                     CLEVELAND INTEGRITY SERVICES, INC.’S
               MEMORANDUM IN SUPPORT OF ITS MOTION TO INTERVENE


I.       INTRODUCTION

         Jason Altenhofen (“Altenhofen”) brings suit under the Fair Labor Standards Act (“FLSA”)

and parallel state statutes contending that Energy Transfer Partners, L.P. (“Energy Transfer”)

failed to pay him overtime. Altenhofen, however, was employed by and paid by Cleveland

Integrity Services, Inc. (“CIS”), which assigned him to work for its customer, Energy Transfer.

Yet, Altenhofen’s lawsuit pointedly excludes his actual employer from his purely employment

claim.

         That omission needs to be rectified.

         As Altenhofen’s employer, CIS determined the central issues in this case: his pay and his

duties. CIS alone determined that Altenhofen qualified as overtime exempt under the applicable

statutes. Plus, Altenhofen executed an arbitration agreement as a condition of his employment

with CIS, which he now tries to evade through selective pleading.

         CIS, accordingly, moves to intervene pursuant to Federal Rule of Civil Procedure 24.
          Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 2 of 10




II.    FACTUAL CONTEXT

       A.      CIS’s Relationship with Energy Transfer Partners

       CIS employs inspection personnel to provide services to its customers. Ex. A at ¶ 3. Energy

Transfer is one of its customers. Ex. A at ¶ 4. Energy Transfer pays CIS a stipulated rate to

compensate it for the services it provides. Ex. A at ¶ 6. This rate was all-inclusive, meant to cover

overhead, profit, equipment, material, salary, benefits, vehicle allowance and applicable taxes and

withholdings under state and federal law. CIS then pays its inspectors in a manner that it alone

determines. Ex. A at ¶ 6.

       CIS directs its employees to provide the requested third-party services. Ex. A at ¶ 5. This

is comparable to a CPA firm sending auditors to its clients. In both instances, there is a compelling

logic for having truly independent inspections done. Pipeline inspectors, like auditors, are hired

to work independently, just like auditors:

       The Inspector acts as the Owner Company’s authorized representative for
       non-financial matters, continuously observes the Contractor’s progress and
       monitors all activities in their assigned areas in accordance with codes and
       standards; regulatory requirements; Owner Company safety and environmental
       requirements, drawings, plans, and specifications; as well as the terms of the
       construction contract or agreement. The Inspector may also be asked to assist
       other specialized Inspectors (e.g., Welding Inspector), as directed.

CEPA Foundation and the INGAA Foundation, A Practical Guide for Pipeline Instruction

Inspectors 11 (Mar. 2016), https://www.cepa.com/wp-content/uploads/2016/11/A-Practical-

Guide-for-Pipeline-Construction-Inspectors-16Mar2016-FIN...1.pdf.

       B.      CIS’s Employment of Altenhofen

       CIS employed Altenhofen and assigned him to provide inspection services to various CIS

clients. Ex. A at ¶ 8. On June 4, 2017, CIS assigned Altenhofen as an environmental inspector to

be part of its team providing services to Energy Transfer. Ex. A at ¶ 9; see also App’x 3 to Ex. A


                                                 2
          Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 3 of 10




(CIS’s mobilization record for Altenhofen, which identifies Energy Transfer as the customer he

would be assigned to).

       CIS determined that Altenhofen’s pay and duties qualified him as overtime exempt under

the FLSA. Ex. A at ¶ 15. CIS guaranteed him a “minimum weekly salary equal to four times the

daily salary amount” based on FLSA regulations. Ex. A at ¶ 11; see 29 C.F.R. § 541.604(b). CIS

also decided that his duties qualified as an administrative exempt job. Ex. A at ¶ 15; see also 29

U.S.C. § 213, 43 Pa. Stat. § 333.105, Ohio Rev. Code § 4111.03(D)(3)(d).

       Altenhofen signed ten separate documents that identified him as an employee of CIS. See

App’x 1-2, 5-10, 12. These documents included acknowledgments that Altenhofen would comply

with CIS’s policies governing employee conduct:

   •   Appendix 5 (Altenhofen’s Acknowledgement of CIS’s Safety Handbook);
   •   Appendix 6 (Altenhofen’s Acknowledgement of CIS’s Drug and Alcohol Policy);
   •   Appendix 7 (Altenhofen’s Acknowledgement of CIS’s Incident and Injury Reporting
       Policy);
   •   Appendix 8 (Altenhofen’s Acknowledgement of CIS’s Employee Driving Policy); and
   •   Appendix 9 (Altenhofen’s Acknowledgement of CIS’s Workers’ Compensation Notice).

       Altenhofen executed an arbitration agreement as a condition of his employment. Ex. A at

¶ 7. Under that arbitration agreement, Altenhofen committed “to arbitrate all claims that have

arisen or will arise out of Employee’s employment with or termination from the Company

regardless of whether those are claims under common law or statutory law.” App’x 1 (attached to

Ex. A) at ¶ 2. Altenhofen also agreed that “there shall be no class actions, collective actions, or

multiple-employee claims of any kind.” App’x 1 (attached to Ex. A) at ¶ 2. “Company” is defined

broadly to include, without limitation, “its affiliates or agents.” App’x 1 (attached to Ex. A) at ¶ 2.

       CIS assigned Altenhofen to provide services on its behalf to Energy Transfer from June 4

until October 26, 2017. Ex. A at ¶ 14. Thereafter, CIS assigned to inspection work for other CIS

customers. Ex. A at ¶ 14. During the period of time Altenhofen was assigned to Energy Transfer,
                                                  3
          Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 4 of 10




CIS paid him $20,163.00 in gross salary. Ex. A. ¶ 14.            During that time, Altenhofen was

undeniably employed by CIS.

       C.      This Lawsuit Against Energy Transfer Only

       Altenhofen’s lawsuit alleges that he was denied overtime pay in violation of the FLSA and

parallel state statutes. But, rather than suing CIS -- the entity that hired him, that determined he

was overtime exempt, and that paid him -- Altenhofen sues only the customer to which he was

assigned but that neither paid him nor determine how much he was paid. Notably, this is not

Altenhofen’s only lawsuit arising from his employment with CIS -- despite 28 U.S.C. § 1927’s

caution against “multipl[ying] the proceedings,” he has also commenced separate lawsuits in other

courts raising FLSA claims against two other CIS customers that he was assigned to provide

services to rather than pressing his claims against CIS in a single suit or arbitration. See Altenhofen

v. Southern Star Central Gas Pipeline, Inc., No. 4:20-cv-00030-JHM-HBB (W.D. Ky. Feb. 24,

2020); Altenhofen v. Southern California Gas Co., No. 2:20-cv-01723-JFW-JPR (C.D. Cal. Feb.

24, 2020).

       Even though Altenhofen leaves CIS unnamed in his Complaint, his allegations against

Energy Transfer are unavoidably directed against CIS. For example, his Complaint alleges that

“[t]hroughout his employment with Energy Transfer, Energy Transfer paid him on a day rate

basis,” Complaint, at ¶ 35, even though CIS determined and paid his salary. See Ex. A at ¶ 10-14

and accompanying Appendices.

       Energy Transfer did not hire Altenhofen, did not classify him as overtime exempt, did not

establish his compensation package, did not offer him benefits, did not make requisite payroll

contributions to state and federal taxing authorities, and did not write or control his pay paychecks.

The reality of his Complaint is that he alleges that Energy Transfer was a joint employer with CIS.


                                                  4
          Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 5 of 10




That is his only route to holding Energy Transfer liable for the alleged violations of the FLSA and

parallel state statutes.

        Altenhofen may wish to allege that Energy Transfer was his joint employer but that cannot

and does not alter CIS’s undeniable interest as his primary employer -- the entity that hired him,

classified him, and paid him -- in intervening in this case to defend against Altenhofen’s claim

challenging CIS’s decision to classify him as overtime exempt. Further, Altenhofen’s tactic of

suing only Energy Transfer is simply an attempt to avoid his arbitration agreements; permitting

this lawsuit to go forward without CIS’s participation would deprive CIS of these interests.1

III.    ANALYSIS

        Federal Rule of Civil Procedure 24 authorizes CIS’s intervention.

        A.      Rule 24(a)(2): Intervention As Of Right

        Rule 24 requires the intervention of anyone who timely “claims an interest relating to the

property or transaction that is the subject of the action, and is so situated that disposing of the

action may as a practical matter impair or impede the movant’s ability to protect its interest,

unless existing parties adequately represent that interest.” Fed. R. Civ. P. 24(a)(2) (emphasis

added). As a practical matter, CIS -- Altenhofen’s actual employer -- has such an interest.

        Snow v. Silver Creek Midstream Holdings LLC, No. 2:19-cv-00241, Dkt. 30 (D. Wyo. Mar.

3, 2020) (attached as Ex. B) is illustrative. There, the court granted intervention to a pipeline

inspection services company in a lawsuit against its customer alleging -- just like this

suit -- violations of the FLSA. The logic for that ruling applies equally here: “[t]he Court finds the



1
  Pursuant to Federal Rule of Civil Procedure 24(c), CIS attaches as Exhibit C its motion to compel
arbitration, seeking to enforce its bargain with Altenhofen. See, e.g., U.S. ex rel. Frank M Sheesley
Co. v. St. Paul Fire and Marine Ins. Co., 239 F.R.D. 404, 414 (W.D. Pa. 2006) (motion to compel
arbitration satisfies Rule 24(c)). CIS will file this motion immediately upon the Court’s approval
of its intervention.
                                                   5
              Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 6 of 10




potential for Silver Creek [customer] to claim Applied [employer / inspection services company]

is Plaintiff’s sole employer, or even a joint employer, establishes a protectable interest.” Id. at 6.

        The Third Circuit has distilled Rule 24(a)(2) into four parts, explaining that the Rule

entitles intervention if “(1) the application for intervention is timely; (2) the applicant has a

sufficient interest in the litigation; (3) the interest may be affected or impaired, as a practical matter

by the disposition of the action; and (4) the interest is not adequately represented by an existing

party in the litigation.” Harris v. Pernsley, 820 F.2d 592, 596 (3d Cir. 1987). Here, CIS meets all

four requirements.

        First, CIS’s motion, filed before the start of discovery, is timely; intervention at this early

stage of the litigation does not unduly delay or prejudice Altenhofen’s or Energy Transfer’s rights.

U.S. ex rel. Frank M. Sheesley Co. v. St. Paul Fire and Marine Ins. Co., 239 F.R.D. 404, 413 n.9

(W.D. Pa. 2006) (intervention timely where the “case is still in its initial stages”).

        Second, CIS has an interest in this case on multiple levels:

        i.        The central issue in this case is whether Altenhofen’s pay and duties qualified him

for an overtime exemption. CIS has an interest in the adjudication of this issue because it set his

job as overtime exempt and exclusively controlled his pay. Further, any liability resulting is joint

and several among joint employers. See 29 C.F.R. § 791.2(a) (“[A]ll joint employers are

responsible, both individually and jointly, for compliance with all of the applicable provisions of

the [FLSA], including the overtime provisions, with respect to the entire employment for the

particular workweek.”).

        ii.       CIS not only has an interest in vindicating its proper classification of Altenhofen as

overtime exempt but also has a distinct interest in enforcing Altenhofen’s arbitration agreement.

Moving forward without CIS could result in Altenhofen being able to avoid the arbitration forum


                                                    6
          Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 7 of 10




in which he committed to bring his individual employment claims. This would deprive CIS of the

benefit of the bargain it struck with Altenhofen: in exchange for employing him and paying him

significant compensation, CIS assured itself of “lower costs, greater efficiency and speed, and the

ability to choose expert adjudicators to resolve specialized disputes.” Stolt-Nielsen S.A. v.

AnimalFeeds Int’l Corp., 559 U.S. 662, 685 (2010).

       iii.    CIS also has an interest because Energy Transfer has demanded indemnification

for Altenhofen’s claims. Ex. A at ¶ 16. An intervenor has a sufficient interest where it may be

required to indemnify its customer. Advanced Dynamic Interfaces, LLC v. Aderas, Inc., C.A. No.

12-cv-963 (GMS), 2013 WL 6989428, at *1 n.1 (D. Del. Jan. 11, 2013) (granting a manufacturer’s

motion to intervene in a lawsuit brought against its customer because, in part, “it has received

indemnifications requests in connection with this action . . . .”).

       Third, disposing of this action without CIS would impair those interests. Most pointedly,

its ability to defend against Altenhofen’s claims that his compensation ran afoul of the FLSA

would as a practical matter be limited. If CIS -- the entity that set and paid Altenhofen’s salary;

determined that he was eligible for exempt status; and maintains the employment records on which

his case is predicated -- is excluded, it would be deprived of the “opportunity to raise arguments

and defenses before adjudication of its own liability to Plaintiff.” Clean Earth, Inc. v. Endurance

Am. Ins., 2016 WL 5422063, at *4-5 (D.N.J. Sept. 28, 2016) (allowing a general contractor to

intervene in a lawsuit brought by a sub-contractor against the general contractor’s insurer and

determining, with respect to impairment of interest, that the possibility that the intervenor could

be held liable without having an opportunity to legally dispute that liability impaired the

intervenor’s interest, which could not be cured “simply because [the general contractor] has an

opportunity to defend against an indemnification claim by [the insurer]”).


                                                  7
          Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 8 of 10




        Fourth, CIS’s interest is not adequately represented by the existing parties. Energy

Transfer lacks the records and witnesses to defend an employment claim from an individual that

it never employed. Energy Transfer did not classify Altenhofen as exempt nor write his paychecks.

CIS’s “superior understanding” of their employment classification and “greater access to relevant

documents and individuals may result in” its “interests being inadequately represented” if it is not

allowed to intervene. Advanced Dynamic Interfaces, 2013 WL 6989428, at *1 n.1 (determining

that a company could intervene as of right in a patent suit brought against its customer because the

company was the creator and manufacturer of the products at issue). Additionally, because Energy

Transfer has demanded indemnity of CIS, there is “the distinct possibility” that Energy Transfer

and CIS “may point the proverbial finger at each other” at some point in the litigation (Snow, Dkt.

30, at 8) or may have an incentive to settle rather than press a full defense of CIS’s pay practices

since it intends to stick CIS with the bill.

        B.      Rule 24(b): Permissive Intervention

        Even if there could be doubt about intervention as of right, CIS is entitled to intervene as a

matter of permission on those same considerations.            Rule 24(b)(1)(B) allows permissive

intervention to anyone who timely asserts “a claim or defense that shares with the main action a

common question of law or fact.” Both are met here.

        There are undeniably common questions of law: e.g., the enforcement of Altenhofen’s

arbitration commitment. That common issue in and of itself warrants intervention. DSMC, Inc. v.

Convera Corp., 273 F. Supp. 2d 14, 27 (D.D.C. 2002) (granting permissive intervention in a trade

secrets suit to the customer of both parties where the lawsuit questioned whether the customer

conspired with the defendant to disclose trade secrets because, in part, the customer and the




                                                  8
          Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 9 of 10




plaintiff had an arbitration agreement and both the customer and defendant argued that arbitration

should be compelled).

       There are also common questions of fact. The central issue in this suit is whether

Altenhofen’s pay and duties qualify him as overtime exempt under the FLSA. These questions

cannot be resolved without addressing the actions of CIS, which paid his salary and determined

that his duties and salary met the administrative exemption requirements under the FLSA and

parallel state statutes. CIS asserts a defense -- that it properly classified Altenhofen -- that shares

common facts with any argument Energy Transfer may make on the merits. Put differently, a full

airing of the facts upon which liability depends is not possible without the participation of

Altenhofen’s actual employer. See Snow, Dkt. 30, at 10 (determining that allowing the actual

employer -- also an inspection services company -- in an FLSA suit brought against that company’s

customer “adds value and significantly advances the full and complete development of the factual

and legal issues raised in the underlying action”).

IV.    CONCLUSION

       For these reasons, CIS should be allowed to intervene in this case.



                                                       Respectfully submitted,

Date: March 30, 2020                                   /s/Ryan O. Hemminger
                                                       Ryan O. Hemminger
                                                       PA. I.D. No. 200809
                                                       Leech Tishman Fuscaldo & Lampl, LLC
                                                       525 William Penn Place, 28th Floor
                                                       Pittsburgh, PA 15219
                                                       (412) 261-1600 (phone)
                                                       (412) 227-5551 (fax)
                                                       rhemminger@leechtishman.com




                                                  9
         Case 2:20-cv-00200-CB Document 32 Filed 03/30/20 Page 10 of 10




                                                     Rachel B. Cowen, Motion for Admission Pro
                                                     Hac Vice forthcoming
                                                     Joseph K. Mulherin, Motion for Admission
                                                     Pro Hac Vice forthcoming
                                                     McDermott Will & Emery LLP
                                                     444 West Lake Street
                                                     Chicago, Illinois 60606
                                                     (312) 372-2000 (phone)
                                                     (312) 884-7700 (fax)
                                                     rcowen@mwe.com
                                                     jmulherin@mwe.com


                                CERTIFICATE OF SERVICE

        The undersigned does certify that on the 30th day of March 2020, I electronically
transmitted the attached document to the Clerk of the Court using the ECF System for filing. Based
on the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
the applicable ECF registrants.



                                                            /s/ Ryan O. Hemminger
                                                            Ryan O. Hemminger




                                                10
